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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        *
                                                *
       v.                                       *      CASE NO: 1:21-cr-0175-3 (TJK)
                                                *
ZACHARY REHL,                                   *
         Defendant                              *


                                    ********
                        ZACHARY REHL’S MOTION TO DISMISS
                             COUNTS TWO AND THREE

       Mr. Rehl, through undersigned counsel, respectfully moves to dismiss the charges brought

pursuant to 18 U.S.C. § 1512, Counts Two and Three of the Third Superseding Indictment (ECF

380, filed 6/6/22) (“TSI”). Count Two charges a conspiracy to obstruct an official proceeding in

violation of 18 U.S.C. § 1512(k). Id. at 24. Count Three charges obstruction of an official

proceeding, in violation of 18 U.S.C. § 1512(c)(2). Id. at 25. This motion seeks dismissal on two

grounds (a) the decision in United States v. Miller, No. 1:21-CR-00119 (CJN), 2022 WL 823070 (D.

D.C. Mar. 7, 2022), reconsideration denied, No. 1:21-CR-00119 (CJN), 2022 WL 1718984 (D. D.C.

May 27, 2022), interlocutory appeal pending, No. 22-3041 (D.C. Cir., June 28, 2022); and (b) the

vagueness doctrine and the rule of lenity.

       A.       Procedural History

       The Court previously denied a similar motion to dismiss. See Memorandum Opinion (ECF

263, entered 12/28/21). At the time, the case was proceeding pursuant to the First Superseding

Indictment (“FSI”) (ECF 26, filed 3/10/21).

       Count One in the FSI charged a conspiracy to corruptly obstruct an official proceeding (18

U.S.C. § 1512(c)(2)), in violation of the general federal conspiracy statute, 18 U.S.C. § 371, which
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carries a statutory maximum penalty of 5 years’ imprisonment. Id. at 6. Count Two in the FSI

charged a substantive obstruction of an official proceeding, in violation of 18 U.S.C. § 1512(c)(2),

which carries a statutory maximum penalty of 20 years’ imprisonment. Id. at 15.

       In the current indictment, Count Two charges a conspiracy to violate § 1512(c)(2) under the

obstruction conspiracy statute, 18 U.S.C. § 1512(k), which carries a statutory maximum penalty of

20 years’ imprisonment. (ECF 380 at 24). Count Three charges a substantive obstruction of an

official proceeding, in violation of 18 U.S.C. § 1512(c)(2), which carries a statutory maximum

penalty of 20 years’ imprisonment. Id. at 25. This charge is identical to Count Two in the FSI.

       B.      The Statutory Construction Analysis in Miller Requires Dismissal

       The instant motion seeks dismissal under the reasoning of Miller, where Judge Nichols after

a thorough statutory construction analysis concluded that 18 U.S.C. § 1512(c)(2) “requires that the

defendant have taken some action with respect to a document, record, or other object in order to

corruptly obstruct, impede or influence an official proceeding.”

               For all the foregoing reasons, the Court believes there are two
               plausible interpretations of the statute: either § 1512(c)(1) merely
               includes examples of conduct that violates § 1512(c)(2), or §
               1512(c)(1) limits the scope of § 1512(c)(2). The text, structure, and
               development of the statute over time suggest that the second reading
               is the better one. But the first is, at a minimum, plausible.

               At the very least, the Court is left with a serious ambiguity in a
               criminal statute. As noted above, courts have “traditionally exercised
               restraint in assessing the reach of a federal criminal statute,” and have
               “construe[d] penal laws strictly and resolve[d] ambiguities in favor of
               the defendant.” Applying these principles here “gives citizens fair
               warning of what conduct is illegal, ensuring that [an] ambiguous
               statute[ ] do[es] not reach beyond [its] clear scope.” And it makes
               sure that “the power of punishment is vested in the legislative, not the
               judicial department.” The Court therefore concludes that §
               1512(c)(2) must be interpreted as limited by subsection (c)(1), and


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               thus requires that the defendant have taken some action with respect
               to a document, record, or other object in order to corruptly obstruct,
               impede or influence an official proceeding.

               Miller, however, is not alleged to have taken such action. Instead,
               Count Three of the Second Superseding Indictment alleges only that
               he “attempted to, and did, corruptly obstruct, influence, and impede
               an official proceeding, that is, a proceeding before Congress,
               specifically, Congress's certification of the Electoral College vote as
               set out in the Twelfth Amendment of the Constitution of the United
               States and 3 U.S.C. §§ 15–18.” Indictment at 2–3. Nothing in Count
               Three (or the Indictment more generally) alleges, let alone implies,
               that Miller took some action with respect to a document, record, or
               other object in order to corruptly obstruct, impede or influence
               Congress's certification of the electoral vote.

Miller, supra, at *15.

       The Miller analysis and holding would apply with equal force to the factual allegations and

offenses charged in Counts Two and Three in the instant case.1 While this Court in denying the

Motion to Dismiss also conducted statutory analysis, its review is not identical to the analysis

conducted by Judge Nichols in Miller. And, this Court reached a different conclusion.

       Mr. Rehl would respectfully request that this Court reconsider its decision and dismiss the

§ 1512(c)(2) counts under the analysis set out in Miller.




       1
          Judge Nichols also dismissed another § 1512(c)(2) prosecution on the same grounds. See
United States v. Fischer, 2022 WL 782413, at *4 (D. D.C. 2022) (nothing in the Superseding
Indictment “alleges, let alone implies, that Fischer took some action with respect to a document,
record, or other object in order to corruptly obstruct, impede or influence Congress's certification of
the electoral vote.”).

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       C.      In Light of the Conflicting Opinions in this District, the Vagueness
               Doctrine and the Rule of Lenity Requires Dismissal of the Obstruction
               Counts

               The Fifth Amendment provides that “[n]o person shall ... be deprived
               of life, liberty, or property, without due process of law.” Our cases
               establish that the Government violates this guarantee by taking away
               someone’s life, liberty, or property under a criminal law so vague that
               it fails to give ordinary people fair notice of the conduct it punishes,
               or so standardless that it invites arbitrary enforcement. The prohibition
               of vagueness in criminal statutes “is a well-recognized requirement,
               consonant alike with ordinary notions of fair play and the settled rules
               of law,” and a statute that flouts it “violates the first essential of due
               process.”

Johnson v. United States, 576 U.S. 591, 595 (2015) (internal citations omitted)

       If learned jurists cannot agree on the statute’s meaning and the conduct it prohibits, it follows

that the statute “fails to give ordinary people fair notice of the conduct it punishes.” Id. Indeed, in

assessing whether a statute is unconstitutionally vague, the Supreme Court has found important “the

conflicting results which have arisen from the painstaking attempts of enlightened judges in seeking

to carry out [a] statute in cases brought before them.” United States v. L. Cohen Grocery Co., 255

U.S. 81, 89-90 (1921).

       Moreover, this is not an ordinary conflict. Here, the cases arise out of the same incident and

are being tried in the same court. There would seem to be no more vivid example that the statute fails

to give fair notice to an ordinary person of what it prohibits when learned judges carefully and

thoroughly applying canons of statutory construction come out with diametrically opposed results.

The different results reached by this Court and Judge Miller make little sense from the perspective

of a reasonably intelligent person, who is under the impression that the American judicial system is

the finest in the world, governed by the rule of law not the chance of the draw.



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       To draw an analogy from the sentencing context, “The goal of [federal criminal law] is, of

course, to reduce unjustified disparities and so reach toward the evenhandedness and neutrality that

are the distinguishing marks of any principled system of justice.” Koon v. United States, 518 U.S.

81, 113 (1996). That one defendant can have his charges dismissed while another must stand trial

in the same Courthouse, facing 20 years’ imprisonment undermines our principled system of justice.

               [I]f our recourse to traditional tools of statutory construction leaves
               any doubt about the meaning of “tangible object,” as that term is used
               in § 1519, we would invoke the rule that “ambiguity concerning the
               ambit of criminal statutes should be resolved in favor of lenity.” That
               interpretative principle is relevant here, where the Government urges
               a reading of § 1519 that exposes individuals to 20-year prison
               sentences for tampering with any physical object that might have
               evidentiary value in any federal investigation into any offense, no
               matter whether the investigation is pending or merely contemplated,
               or whether the offense subject to investigation is criminal or civil.
               (“Application of the rule of lenity ensures that criminal statutes will
               provide fair warning concerning conduct rendered illegal and strikes
               the appropriate balance between the legislature, the prosecutor, and
               the court in defining criminal liability.”). In determining the meaning
               of “tangible object” in § 1519, “it is appropriate, before we choose the
               harsher alternative, to require that Congress should have spoken in
               language that is clear and definite.” (rule of lenity “ reinforces” the
               conclusion that arson of an owner-occupied residence is not subject
               to federal prosecution under 18 U.S.C. § 844(i) because such a
               residence does not qualify as property “used in” commerce or
               commerce-affecting activity).

Yates v. United States, 574 U.S. 528, 547-48 (2015) (internal citations omitted).

        Vague laws “leav[e] people in the dark about what the law demands and allow[] prosecutors

and courts to make it up.” Sessions v. Dimaya, 138 S. Ct. 1204, 1224 (2018). The perspective is that

of a reasonably intelligent person. If the government is charging hundreds of people with Class B

misdemeanors for the same conduct that randomly results in a felony charge punishable by 20 years’

imprisonment, it raises the second concern that the vagueness doctrine seeks to prevent. Indeed, as


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to Mr. Rehl, who did not commit any violence, destroy any property, battle law enforcement, or

bring weapons to the Capitol, his charges are exponentially more severe than others who committed

similar or even more serious conduct. When crimes are not sufficiently demarcated it makes possible

the exercise of arbitrary enforcement.

       As can be seen dramatically in Mr. Rehl’s case, in the January 6 prosecutions, the government

has provided no notice, much less fair notice, of when or why a defendant moves from a Title 40

offense misdemeanor offense to a § 1512 20-year felony. This is a gross absence of “standards to

govern the actions of police officers, prosecutors, juries and judges” requiring dismissal of the

charges. Dimaya, 138 S. Ct. at 1212.

       WHEREFORE, for the reasons set forth above, Mr. Rehl respectfully requests that this

Honorable Court reconsider its decision and dismiss Counts Two and Three of the Indictment.

                                                     Respectfully submitted,

                                                     /s/
                                                     Carmen D. Hernandez
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                                                     (240) 472-3391


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was served via ECF on all counsel of
record this 24th day of August, 2022.


                                                     /s/ Carmen D. Hernandez
                                                     Carmen D. Hernandez




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